       1:08-cr-10088-JBM-JAG # 1      Page 1 of 3
                                                                                                       E-FILED
                                                        Thursday, 23 October, 2008 08:57:59 AM
                                                                  Clerk, U.S. District Court, ILCD

                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF ILLINOIS
                               AT PEORIA

UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )
                                             )
      v.                                     )      Case No. 08-.. .!.J. . : :. D.=O'2S..LL·:kL8   _

                                             )
ROGELIO BARAJAS,                             )      VIO: Title 21, United States
                                             )      Code, Sections 846,
                   Defendant.                )      841(b)(1)(A), 843(b), and 843(d)

                                  INDICTMENT

THE GRAND JURY CHARGES:

                                    Count One

                          (Drug Trafficking Conspiracy)

      1.     From in or about 2002 and continuing through at least in or about

July 2007, in the Central District of Illinois and elsewhere, the defendant,

                                ROGELIO BARAJAS,

did knowingly conspire with persons known to the grand jury and persons

unknown to the grand jury to violate the laws of the United States, that is: to

knowingly distribute and knowingly possess with intent to distribute a mixture

and substance containing cocaine and a mixture and substance containing

cocaine base (crack), both Schedule II controlled substances, in violation of Title

21, United States Code, Section 841(a)(1).
       1:08-cr-10088-JBM-JAG # 1      Page 2 of 3




      2.    The conspiracy involved more than five (5) kilograms of a mixture

and substance containing cocaine and more than fifty (50) grams of a mixture and

substance containing cocaine base (crack), in violation of Title 21 United States

Code, Section 841(b)(1)(A).

      All in violation of Title 21, United States Code, Section 846.




                                         2
            1:08-cr-10088-JBM-JAG # 1       Page 3 of 3



                                  COUNTSnNOTHROUGHFOUR

              (Use of Telephone in Furtherance of Drug Trafficking Crime)

           On or about the dates and times set forth in the chart below, in the Central

  District of Illinois and elsewhere, the defendant,

                                     ROGELIO BARAJAS,

  did knowingly and intentionally use a communication facility, to wit: a

  telephone, to commit and to cause and facilitate the commission of an act and

  acts constituting a felony under Title 21, United States Code, Section 846, which is

  the offense of conspiracy charged in Count One of this indictment.

                                                     Approximate
                             Count       Date           Time
                              2      1/24/2006       4:00p.m.
                              3      1/25/2006       4:22p.m.
                              4      3/2/2006        3:39p.m.

           All in violation of Title 21, United States Code, Sections 843(b) and 843(d).


                                                       s/ Foreperson



s/ Assistant U.S. Attorney


  RODGER A. HEATON
  UNITED STATES ATTORNEY
  grw



                                                 3
